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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

    JUAN LOZADA-LEONI,                                   §
                                                         §
          Plaintiff,                                     §
                                                         §
    v.                                                   §   NO. 4:20-CV-68-RWS-CMC
                                                         §
    MONEYGRAM INTERNATIONAL, INC.,                       §
    And MONEYGRAM PAYMENT                                §
    SYSTEMS, INC.                                        §
                                                         §
          Defendants.                                    §



                       ORDER REGARDING OBJECTIONS TO EXHIBITS
                            AND DEPOSITION DESIGNATIONS

          The above-referenced cause of action was referred to the undersigned United States

   Magistrate Judge for pretrial purposes in accordance with 28 U.S.C. § 636. The Court currently

   has scheduled a pretrial conference November 3, 2020 at 10:00 a.m. This Order is the Court’s

   attempt to streamline the pre-admission process while conserving the parties’ resources.

          To focus the pretrial conference, it is the Court’s intent to have orders entered on the

   parties’ motions in limine by October 30, 2020. This will enable the parties to confer and narrow

   the submitted objections, if any, with the benefit of the limine rulings.

           The Court, having reviewed the parties’ submissions to date, finds the following

   deficiencies by both parties. The deadline to file pretrial objections was October 13, 2020. Docket

   Entry # 108. No objections to exhibits have been filed to date. The pretrial conference will not be

   productive unless and until the parties provide the Court with their objections.




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                                           Objections to Exhibits

            To that end, on or before October 19, 2020, at 8:00 a.m., the parties shall file a list of the

     exhibits objected to and a description of the objections to said documents. The parties must

     specifically state their objections to each objected to exhibit and may not “reserve” any objections.

     Where possible, the parties shall group the exhibits into broad categories so that objections to the

     exhibits may be considered as to certain groups. Once objections, if any, have been filed, the parties

     shall meet and confer to see if any agreements on the objections can be reached.

 .          Any responses to the other side’s objections shall be filed on or before October 26, 2020,

     at 8:00 a.m. The parties are to provide the Court courtesy copies of their filings. The contested

     exhibits must be available for review at the initial pretrial conference to assist the Court in ruling.

                                     Copies of Deposition Designations

            On or before October 21, 2020, at 5:00 p.m., each party shall provide to the Court a

     courtesy copy of any contested deposition testimony designated by that party. Failure to comply

     with this Order as required could result in all objections being waived.

            IT IS SO ORDERED.

            SIGNED this 15th day of October, 2020.




                                                           ____________________________________
                                                           CAROLINE M. CRAVEN
                                                           UNITED STATES MAGISTRATE JUDGE




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